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December 28, 2023

VIA ECF

Hon. David N. Hurd
Alexander Pirnie Federal Bldg. and U.S. Courthouse
10 Broad Street Utica, NY 13501

       RE: Variscite NY Fourt, LLC, et al. v. New York Cannabis Control Board, et al. –
       Request for Remote Appearance

Dear Judge Hurd:

       If the Court holds oral argument on Plaintiffs Variscite NY Four, LLC and Variscite NY
Five, LLC’s Application for a Temporary Restraining Order, Plaintiffs would like me to
represent them at the hearing as their lead counsel. I would need to appear remotely from Los
Angeles. I am a member of the State Bar of New York, and I am admitted pro hac vice to the
Northern District of New York for this matter. Thus, I ask the Court to allow me to appear by
video (preferred) or telephone.


                                           Respectfully submitted,



                                           Jeffrey M. Jensen
